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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


HEATHER HEWITT,

              Plaintiff,                                 No. 22-11774

v.                                                       Hon. Nancy G. Edmunds

CLEARY UNIVERSITY,

           Defendant.
_______________________________________/

              ORDER DISMISSING PLAINTIFF’S STATE LAW CLAIMS

       Plaintiff Heather Hewitt brings this employment discrimination case against

Defendant Cleary University, alleging violations of Title VII of the Civil Rights Act, the

Age Discrimination in Employment Act (“ADEA”), and Michigan’s Elliot-Larsen Civil

Rights Act (“ELCRA”). (ECF No. 1.) On August 16, 2022, the Court issued an order

giving Plaintiff the opportunity to properly plead the citizenship of Defendant if she

chooses to rely on diversity jurisdiction as the Court’s basis to hear her state law claims.

(ECF No. 4.) Plaintiff filed a timely response to that order, acknowledging that the Court

does not have diversity jurisdiction over this case but asking the Court to nonetheless

exercise supplemental jurisdiction over her state law claims. (ECF No. 5.) The Court

declines doing so to avoid jury confusion. See 28 U.S.C. § 1367(c)(4); Moor v. Cty. of

Alameda, 411 U.S. 693, 716 (1973); Padilla v. City of Saginaw, 867 F. Supp. 1309,

1315 (E.D. Mich. 1994); see also Provenzano v. LCI Holdings, Inc., 663 F.3d 806, 818

(6th Cir. 2011) (observing that the causation standard for a discrimination claim under

the ADEA is different than that for the same claim under the ELCRA). Therefore,
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pursuant to § 1367(c), Plaintiff's state law claims are hereby DISMISSED WITHOUT

PREJUDICE. The Court will retain jurisdiction over Plaintiff’s federal claims only.

      SO ORDERED.

                                  s/Nancy G. Edmunds
                                  Nancy G. Edmunds
                                  United States District Judge

Dated: October 4, 2022


I hereby certify that a copy of the foregoing document was served upon counsel of
record on October 4, 2022, by electronic and/or ordinary mail.

                                  s/Lisa Bartlett
                                  Case Manager
